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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-60450-CIV-SMITH

 MARCELIN LIBERAL, individually, and on
 behalf of all others similarly situated

        Plaintiff,

 v.

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC, and MEMORIAL
 REGIONAL HOSPITAL SOUTH
 AUXILIARY, INC.,

       Defendant.
 _______________________________________/

                          ORDER OF REFERRAL TO MEDIATION

        Trial having been set in this matter under separate order of the Court, and pursuant to

 Federal Rule of Civil Procedure 16(c)(2)(I) and Southern District Local Rule 16.2, it is hereby

        ORDERED as follows:

        1. All parties must participate in mediation by March 10, 2023.

        2. Plaintiff's counsel, or another attorney agreed upon by all counsel of record and any

 unrepresented parties, shall be responsible for scheduling the mediation conference.

        3. By June 13, 2022, the parties shall file a Notice of Scheduling Mediation, setting out

 the name of the mediator and the date, time, and place for the mediation. The mediation date may

 not be extended without prior court approval. If at any time the mediation date is rescheduled, the

 parties must file a new Notice of Scheduling Mediation.

        4. Except as provided under Local Rule 16.2(e) for public-sector entities, the appearance

 of counsel and each party or representatives of each party with full authority to enter into a full
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 and complete compromise and settlement is mandatory.             Appearance shall be in person;

 telephonic or videoconference appearance is prohibited. 1 If insurance is involved, an adjustor with

 authority up to the policy limits or the most recent demand, whichever is lower, shall attend.

        5. The Court may impose sanctions against parties and/or counsel if mediation is not

 conducted or for failure to comply with any other requirement or term of this Order.

        6. If a full or partial settlement is reached in this case, counsel shall promptly notify the

 Court of the settlement in accordance with Local Rule 16.2(f), by the filing of a notice of settlement

 signed by counsel of record within fourteen (14) days of the mediation conference. Thereafter the

 parties shall submit appropriate papers concluding the case. The case will remain on the trial

 calendar until an order dismissing the action is entered by the Court.

        7. Within seven (7) days following the mediation conference, the mediator shall file a

 Mediation Report indicating whether all required parties were present. The report shall also

 indicate whether the case settled (in full or in part), was continued with the consent of the parties,

 or whether the mediator declared an impasse. It shall be the responsibility of the parties to

 ensure that the mediator timely files the mediation report.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 25th day of May, 2022.




 cc:    Counsel of Record



 1
   While the Court permitted such appearances due to the COVID-19 pandemic, the rates of infection have
 dropped dramatically in recent months. Thus, telephonic or videoconference appearances are no longer
 permitted without leave of Court.
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